           Case 2:14-cv-01371-FMO-E Document 169-1 Filed 09/28/21 Page 1 of 6 Page ID #:1606




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             10

             11
                                          UNITED STATES DISTRICT COURT
             12
                         CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
             13
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             14    JESUS PIMENTEL, DAVID R.                       Case No. 2:14-cv-01371-FMO (Ex)
             15    WELCH, JEFFREY O’CONNELL,
                   EDWARD LEE, WENDY                              DECLARATION OF DONALD
             16                                                   R. PEPPERMAN IN SUPPORT
"'




                   COOPER, JACLYN BAIRD,
                                                                  OF JOINT BRIEF
             17    ANTHONY RODRIGUEZ,                             REGARDING THE PARTIES’
                   RAFAEL BUELNA, ELEN                            CROSS-MOTIONS FOR
             18                                                   SUMMARY JUDGMENT
                   KARAPETYAN, and all persons
                                                                  [Fed.R.Civ.P. 56]
             19    similarly situated,
             20                                                   Date: October 28, 2021
                            Plaintiffs,
                                                                  Time: 10:00 a.m.
             21                                                   Courtroom: 6D
                                 v.
             22                                                   Hon. Fernando M. Olguin
             23     CITY OF LOS ANGELES,
             24

             25             Defendant.
             26

             27

             28


                                             DECLARATION OF DONALD R. PEPPERMAN
           Case 2:14-cv-01371-FMO-E Document 169-1 Filed 09/28/21 Page 2 of 6 Page ID #:1607




              1                   DECLARATION OF DONALD R. PEPPERMAN
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              3         I, Donald R. Pepperman, declare as follows:
              4         1.     I am an attorney licensed to practice in the State of California. I am a
              5   partner at the Waymaker LLP (“Waymaker”) law firm, co-counsel to Jesus Pimentel,
              6   David R. Welch, Jeffrey O’Connell, Edward Lee, Wendy Cooper, Jaclyn Baird, and
              7   Rafael Buelna (“Plaintiffs”) in this action and co-lead trial counsel in this matter. I
              8   make this Declaration in connection with the concurrently filed Joint Brief Regarding
              9   the Parties’ Cross-Motions for Summary Judgment in the above captioned matter. I
             10   have personal knowledge of the facts set forth herein and if called as a witness I
             11   could and would competently testify thereto.
             12         2.     Attached to the Joint Evidentiary Appendix (“JEA”) as Exhibit 4 is a
             13   true and correct copy of a written transcript of the video recording of the Ninth
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             14   Circuit oral argument hearing conducted on January 7, 2020, in the appeal of this
             15   matter.
"'




             16         3.     Attached to the JEA as Exhibit 5 is a true and correct copy of the
             17   Declaration of Jay Beeber (“Beeber Decl.”), dated April 23, 2017. Mr. Beeber is an
             18   expert retained by Plaintiffs to provide expert opinions and testimony on the subject
             19   of parking meter violation fines/penalties.
             20         4.     Attached to the JEA as Exhibit 6 is a true and correct copy of the
             21   Declaration of Jay Carsman (“Carsman Decl.”), dated April 23, 2017 (4 pages).
             22         5.     Attached to the JEA as Exhibit 7 is a true and correct copy of the
             23   Declaration of Abel Valenzuela (“Valenzuela Decl.”), dated April 26, 2017. Dr.
             24   Valenzuela is an expert retained by Plaintiffs to provide expert opinions and
             25   testimony on the impacts of parking meter violation fines/penalties on low-income
             26   persons/households.
             27         6.     Attached to the JEA as Exhibit 8 is a true and correct copy of the
             28   Declaration of Plaintiff Jaclyn Baird (“Baird Decl.”), dated May 1, 2017 (3 pages).
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                                          DECLARATION OF DONALD R. PEPPERMAN
           Case 2:14-cv-01371-FMO-E Document 169-1 Filed 09/28/21 Page 3 of 6 Page ID #:1608




              1          7.    Attached to the JEA as Exhibit 9 is a true and correct copy of the
              2   Declaration of Plaintiff Edward Lee (“Lee Decl.”), dated April 27, 2017 (2 pages).
              3          8.    Attached to the JEA as Exhibit 10 is a true and correct copy of the
              4   Declaration of Plaintiff Jeffrey O’Connell (“O’Connell Decl.”), dated April 25, 2017
              5   (3 pages).
              6          9.    Attached to the JEA as Exhibit 11 is a true and correct copy of the
              7   Declaration of Plaintiff Jesus Pimentel (“Pimentel Decl.”), dated May 20, 2017 (3
              8   pages).
              9          10.   Attached to the JEA as Exhibit 12 is a true and correct copy of the
             10   Declaration of Plaintiff David Welch (“Welch Decl.”), dated April 24, 2017 (4
             11   pages).
             12          11.   Attached to the JEA as Exhibit 13 is a true and correct copy of the
             13   Declaration of Plaintiff Wendy Cooper (“Cooper Decl.”), dated April 30, 2017 (3
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             14   pages).
             15          12.   Attached to the JEA as Exhibit 14 is a true and correct copy of the
             16   Declaration of Plaintiff Rafael Buelna (“Buelna Decl.”), dated April 24, 2017 (3
             17   pages).
             18          13.   Attached to the JEA as Exhibit 15 is a true and copy of excerpts from
             19   the transcript of the deposition of Robert Andalon, LADOT Chief Management
             20   Analyst, conducted by Plaintiffs’ counsel on September 26, 2016 (“Andalon Depo.
             21   I”).
             22          14.   Attached to the JEA as Exhibit 16 is a true and correct copy of excerpts
             23   from the transcript of the deposition of Robert Andalon, LADOT Chief Management
             24   Analyst (City’s Fed.R.Civ.P. 30(b)(6) designee), conducted by Plaintiffs’ counsel on
             25   March 16, 2017 (“Andalon Depo. II”).
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                                         DECLARATION OF DONALD R. PEPPERMAN
           Case 2:14-cv-01371-FMO-E Document 169-1 Filed 09/28/21 Page 4 of 6 Page ID #:1609




              1         15.   Attached to the JEA as Exhibit 17 is a true and correct copy of excerpts
              2   from the transcript of the deposition of Jay M. Beeber conducted by Plaintiffs’
              3   counsel on September 2, 2016 (“Beeber Depo.”).
              4         16.   Attached to the JEA as Exhibit 18 is a true and correct copy of excerpts
              5   from the transcript of the deposition of Angel Marcel Porras, LADOT, conducted by
              6   Plaintiffs’ counsel on January 6, 2017 (“Porras Depo.”).
              7         17.   Attached to the JEA as Exhibit 19 is a true and correct copy of excerpts
              8   from the transcript of the deposition of Seleta Reynolds, LADOT General Manager,
              9   conducted by Plaintiffs’ counsel on January 27, 2017 (“Reynolds Depo.”).
             10         18.   Attached to the JEA as Exhibit 20 is a true and correct copy of excerpts
             11   from the transcript of the deposition of Gregory John Savelli, LADOT Chief Parking
             12   Enforcement and Traffic Control, conducted by Plaintiffs’ counsel on January 10,
             13   2017 (“Savelli Depo.”).
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             14         19.   Attached to the JEA as Exhibit 21 is a true and correct copy of excerpts
             15   from the transcript of the deposition of Anita Tang, LADOT Management Analyst,
             16   conducted by Plaintiffs’ counsel on September 6, 2016 (“Tang Depo.”).
             17         20.   Attached to the JEA as Exhibit 22 is a true and correct copy of
             18   Defendant City’s “Responses to Plaintiffs Edward Lee and Rafael Buelna’s First Set
             19   of Interrogatories to Defendant,” dated December 13, 2016 (10 pages).
             20         21.   Attached to the JEA as Exhibit 23 is a true and correct copy of the
             21   “Final Report” of the Los Angeles Parking Reform Working Group (“LAPRWG”),
             22   dated February 10, 2015 (38 pages).
             23         22.   Attached to the JEA as Exhibit 24 is a true and correct copy of a
             24   document entitled “LAPRWG: Response to LADOT Report on the Feasibility of a
             25   Tiered Fine Structure” (12 pages).
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                                         DECLARATION OF DONALD R. PEPPERMAN
           Case 2:14-cv-01371-FMO-E Document 169-1 Filed 09/28/21 Page 5 of 6 Page ID #:1610




              1            23.   Attached to the JEA as Exhibit 25 is a true and correct copy of a posting
              2   entitled “Where Your Parking Fines Go” obtained from the LADOT’s website (3
              3   pages).
              4            24.   Attached to the JEA as Exhibit 26 is a true and correct copy of a posting
              5   obtained from the LADOT’s website entitled “Parking Tickets” (3 pages).
              6            25.   Attached to the JEA as Exhibit 27 is a true and correct copy of a press
              7   release, dated January 10, 2017, entitled “Controller Calls on City to Hold off on
              8   Parking Fine Reductions” (1 page).
              9            26.   Attached to the JEA as Exhibit 28 is a true and correct copy of a letter,
             10   dated January 11, 2017, entitled “Parking Citations and Revenue” from Ron Galperin
             11   (L.A. City Controller) to Mayor Eric Garcetti and the Members of the L.A. City
             12   Council (3 pages).
             13            27.   Attached to the JEA as Exhibit 29 is a true and correct copy of a posting
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             14   dated February 13, 2017, obtained from the L.A. City Controller’s website entitled
             15   “LA’s Newest Data Portal Highlights Where, When, and Why People Get Parking
             16   Tickets” (5 pages).
             17            28.   Attached to the JEA as Exhibit 30 is a true and correct copy of a chart
             18   dated February 23, 2017, entitled “City of Los Angeles Parking Program – Meter
             19   Citations.” The chart was prepared at the direction of the City Attorney’s Office and
             20   provided to Plaintiffs’ counsel in response to discovery requests (1 page).
             21            29.   Attached to the JEA as Exhibit 31 is a true and correct copy of the
             22   “LADOT Annual Report Fiscal Year 2015-16” obtained from the LADOT’s website
             23   (20 pages).
             24            30.   Attached to the JEA as Exhibit 32 is a true and correct copy of a
             25   document from the “TIMS” computer system produced by the City relating to a
             26   parking ticket issued to Plaintiff Jeffrey O’Connell, dated February 22, 2013 (1
             27   page).
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                                            DECLARATION OF DONALD R. PEPPERMAN
           Case 2:14-cv-01371-FMO-E Document 169-1 Filed 09/28/21 Page 6 of 6 Page ID #:1611




              1         31.    Attached to the JEA as Exhibit 33 is a true and correct copy of a
              2   document entitled “Notice of Delinquent Parking Violation,” relating to a “meter
              3   expired” violation for Plaintiff Eddie Lee (ticket issued April 6, 2013) (1 page).
              4         32.    Attached to the JEA as Exhibit 34 is a true and correct copy of the
              5   transcript of the deposition of Mark Granado conducted by Plaintiffs’ counsel on
              6   August 19, 2021.
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              8         I declare under penalty of perjury under the laws of the United States of
              9   America and the State of California that the foregoing information is true and correct.
             10   Executed on September 30, 2021, at Los Angeles, California.
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                                                                         Donald R. Pepperman
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                                          DECLARATION OF DONALD R. PEPPERMAN
